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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KENNETH FERENCE, )
)
Plaintiff, ) Civil Action No. 22-797
) District Judge J. Nicholas Ranjan
Vv. ) Magistrate Judge Maureen P. Kelly
)
ROMAN CATHOLIC DIOCESE )
OF GREENSBURG, )
)
Defendant. )

CASE MANAGEMENT ORDER

AND NOW, this 27" day of June 2023, IT IS HEREBY ORDERED that this action is
placed under Local Rule 16.1 for pretrial proceedings and all provisions of the Rule will be

strictly enforced. Compliance with provisions of Rule 16.1 shall be completed as follows:

1. The parties shall make the disclosures required by Fed.R.Civ.P. 26(a) by

T/AI/23
2. The parties shall move to amend the pleadings or add new parties by_7/11/23__.
3. The parties shall complete fact discovery by __ 11/22/23 . All

 

interrogatories, depositions and requests for admissions and/or production of documents shall be
served within sufficient time to allow responses to be completed prior to the close of fact
discovery. Dates for expert depositions and discovery, if necessary, shall be addressed in a
subsequent order.

4, The Court will conduct a post-discovery status/settlement conference on

Wednesday, 11/29/23 at 10:00 a.m. in the Chambers of United States

 

Magistrate Judge Maureen P. Kelly, Ninth Floor, Room 9280, Joseph F. Weis, Jr. United States
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Courthouse, 700 Grant Street, Pittsburgh, Pennsylvania. Trial counsel shall attend and the
parties shall be available by phone.

IT IS FURTHER ORDERED that counsel shall confer with their clients prior to all case
management, status or pretrial conferences to obtain authority to participate in settlement
negotiations to be conducted by the Court. Counsel are encouraged to instruct the principals to

be available by telephone to facilitate the amicable resolution of all litigation.

BY THE COURT:

/s/ Maureen P. Kelly
MAUREEN P. KELLY
UNITED STATES MAGISTRATE JUDGE
